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                                                                                            07/24/2020


                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                    Charlottesville Division

   ELIZABETH SINES et al.,                      )
        Plaintiffs,                             )       Civil Action No. 3:17-cv-00072
                                                )
         v.                                     )       FOURTH DISCOVERY ORDER TO
                                                )       DEFENDANT ELLIOTT KLINE
                                                )
  JASON KESSLER et al.,                         )       By:    Joel C. Hoppe
            Defendants.                         )              United States Magistrate Judge

         This matter is before the Court on Plaintiffs’ motion to sanction pro se Defendant Elliott

  Kline (a.k.a. “Eli Mosley”) for failing to appear at his properly noticed deposition on July 2,

  2020, and to compel Kline to appear at a deposition rescheduled for August 12, 2020. ECF Nos.

  792, 812. Kline did not properly respond to Plaintiffs’ motion within the time allowed. See ECF

  Nos. 101, 810, 810-1. Plaintiffs’ requests to be reimbursed for their reasonable fees and expenses

  caused by Kline’s failure to attend the July 2 deposition and for a court order compelling Kline’s

  attendance at the August 12 deposition are hereby GRANTED. Fed. R. Civ. P. 37(d). The

  motion, ECF No. 792, is denied without prejudice in all other respects.

         Defendant Elliott Kline (a.k.a. “Eli Mosley”) is hereby ORDERED to appear by

  videoconference for a deposition upon oral examination by Plaintiffs’ counsel in this matter at

  9:30 a.m. ET on Wednesday, August 12, 2020, as more fully described in the attached Notice,

  which is sealed. ECF No. 812. The Court expects Kline to appear and participate in good faith as

  required by the Federal Rules of Civil Procedure and this Court’s numerous prior orders.

         Defendant Elliott Kline (a.k.a. “Eli Mosley”) is hereby warned that his failure to

  comply with this Order may result in a bench warrant being issued for his arrest and the

  United States Marshal taking him into custody and transporting him to this judicial district

  to appear and show cause why he should not be held in contempt of court.

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        It is so ORDERED.

        The Clerk shall send a copy of this Order to the parties.

                                                      ENTER: July 24, 2020



                                                      Joel C. Hoppe
                                                      U.S. Magistrate Judge




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